  Case 22-12916-MBK                Doc 47 Filed 06/23/22 Entered 06/24/22 00:16:50                                Desc Imaged
                                        Certificate of Notice Page 1 of 3
Form finmgtc

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 22−12916−MBK
                                         Chapter: 11
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   George Sariotis                                          Cindy Sariotis
   1801 Pitney St                                           1801 Pitney St
   Oakhurst, NJ 07755−2840                                  Oakhurst, NJ 07755−2840
Social Security No.:
   xxx−xx−3126                                              xxx−xx−4645
Employer's Tax I.D. No.:




               NOTICE OF FAILURE TO FILE DEBTOR'S CERTIFICATION OF COMPLETION
                OF INSTRUCTIONAL COURSE CONCERNING FINANCIAL MANAGEMENT




To receive a discharge each individual debtor must participate in a personal financial management course. The
course provider may file a Certificate of Debtor Education, or the debtor must file a Debtor's Certification of
Completion of Instructional Course Concerning Financial Management (Official Form B23) proving compliance
with the financial management course requirement for discharge (each debtor in a joint case must file a separate
Certification). The Certification must be filed by:

       Chapter 11: [In a case in which 1141(d)(3) applies, no later than the date you make your last plan payment.]

To date the court has not received the above document from the debtor(s), nor has it received a Certificate of Debtor
Education from a course provider. If the court does not receive the document(s) within the time frame set forth
above, your case will be closed without entry of the discharge. If the case is closed without entry of the discharge
you must file a Motion To Reopen to allow for the filing of the document(s) and pay the applicable filing fee.




Dated: June 20, 2022
JAN: admi

                                                                   Jeanne Naughton
                                                                   Clerk
       Case 22-12916-MBK                     Doc 47 Filed 06/23/22 Entered 06/24/22 00:16:50                                              Desc Imaged
                                                  Certificate of Notice Page 2 of 3
                                                               United States Bankruptcy Court
                                                                   District of New Jersey
In re:                                                                                                                  Case No. 22-12916-MBK
George Sariotis                                                                                                         Chapter 11
Cindy Sariotis
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                   User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 21, 2022                                                Form ID: finmgtc                                                           Total Noticed: 3
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 23, 2022:
Recip ID                  Recipient Name and Address
db/jdb                    George Sariotis, Cindy Sariotis, 1801 Pitney St, Oakhurst, NJ 07755-2840

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                         Jun 21 2022 21:59:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                   Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                         Jun 21 2022 21:59:00      United States Trustee, Office of the United States
                                                                                                                   Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                   Center, Suite 2100, Newark, NJ 07102-5235

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 23, 2022                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 20, 2022 at the address(es) listed below:
Name                               Email Address
David B. Grantz
                                   on behalf of Creditor OceanFirst Bank N.A., successor by merger to TwoRiver Community Bank dgrantz@meyner.com,
                                   ckelly@meyner.com

Geoffrey P. Neumann
      Case 22-12916-MBK            Doc 47 Filed 06/23/22 Entered 06/24/22 00:16:50                                    Desc Imaged
                                        Certificate of Notice Page 3 of 3
District/off: 0312-3                                       User: admin                                                        Page 2 of 2
Date Rcvd: Jun 21, 2022                                    Form ID: finmgtc                                                  Total Noticed: 3
                          on behalf of Debtor George Sariotis geoff.neumann@gmail.com

Geoffrey P. Neumann
                          on behalf of Plaintiff George Sariotis geoff.neumann@gmail.com

Geoffrey P. Neumann
                          on behalf of Joint Debtor Cindy Sariotis geoff.neumann@gmail.com

Geoffrey P. Neumann
                          on behalf of Plaintiff Cindy Sariotis geoff.neumann@gmail.com

Kyle Francis Eingorn
                          on behalf of Creditor McCormick 110 LLC keingorn@dbblegal.com

Margaret Mcgee
                          on behalf of U.S. Trustee U.S. Trustee maggie.mcgee@usdoj.gov

Matthew Patrick Dolan
                          on behalf of Creditor OceanFirst Bank N.A., successor by merger to TwoRiver Community Bank mdolan@meyner.com

Stephen Gillespie
                          on behalf of Creditor Hudson Insurance Company stephengillespie@westerlaw.com brendaharling@westerlaw.com

Timothy P. Neumann
                          on behalf of Joint Debtor Cindy Sariotis timothy.neumann25@gmail.com
                          btassillo@aol.com;geoff.neumann@bnfsbankruptcy.com;geoff.neumann@gmail.com

Timothy P. Neumann
                          on behalf of Debtor George Sariotis timothy.neumann25@gmail.com
                          btassillo@aol.com;geoff.neumann@bnfsbankruptcy.com;geoff.neumann@gmail.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 12
